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                                   22-13992



          In the United States Court of Appeals
                 for the Eleventh Circuit

                             LEROY PERNELL et al.,
                              Plaintiffs-Appellees,
                                       v.
                               BRIAN LAMB et al.,
                             Defendants-Appellants.


            On Appeal from the United States District Court for the
           Northern District of Florida, No. 4:22-CV-304-MW-MAF


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   CERTFICIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

     Pursuant to Local Rules 26.1-2, Plaintiffs-Appellees certify that the following

persons have or may have an interest in the outcome of this case or appeal, in

addition to the individuals and entities named in Defendants-Appellants’ initial brief:

     1.   Almond, Russell, Plaintiff-Appellee

     2.   American Civil Liberties Union Foundation of Florida, Inc., Attorneys
          for Plaintiffs-Appellees

     3.   American Civil Liberties Union Foundation, Attorneys for Plaintiffs-
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     4.   Austin, Sharon Wright, Plaintiff-Appellee,

     5.   Azis, Jacqueline Nicole, Attorney for Plaintiffs-Appellees

     6.   Ballard Spahr, LLP, Attorneys for Plaintiffs-Appellees

     7.   Benjamin, Aaronson, Edinger, & Pantzano, P.A., Attorneys for Plaintiffs-
          Appellees

     8.   Blankenship, Katherine, Attorney for Plaintiffs-Appellees

     9.   Boaz, Timothy L., Defendant-Appellant

     10. Burgess, Tiffani, Attorney for Plaintiffs-Appellees

     11. Callahan, Sandra, Defendant-Appellant

     12. Carrere, Michael, Defendant-Appellant

     13. Cerio, Timothy M., Defendant-Appellant

     14. Coleman, Santino, Attorney for Plaintiffs-Appellees

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   17. Corcoran, Richard, Defendant-Appellant

   18. Dauphin, Johana, Plaintiff-Appellee

   19. Diaz, Jr., Manny, Defendant-Appellant

   20. Donnelly, N. Rogan, Defendant-Appellant

   21. Dunn, Marvin, Plaintiff-Appellee

   22. Edge, Aubrey, Defendant-Appellant

   23. Edinger, Gary Scott, Attorney for Plaintiffs-Appellees

   24. Edwards, Jerry Crawford, Attorney for Plaintiffs-Appellees

   25. Fajana, Morenike, Attorney for Plaintiffs-Appellees

   26. First Amendment Forum at University of South Florida, Plaintiff-
       Appellee

   27. Fitzpatrick, Magistrate Judge Hon. Martin A., U.S. District Court for the
       Northern District of Florida

   28. Florida A&M University Board of Trustees, Defendant (dismissed Nov.
       22, 2022)

   29. Florida Board of Governors of the State University System, Defendant
       (dismissed Nov. 22, 2022)

   30. Florida International University Board of Trustees, Defendant (dismissed
       Nov. 22, 2022)

   31. Florida State University Board of Trustees, Defendant (dismissed Nov.
       22, 2022)

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   32. Foundation for Individual Rights and Expression, Attorneys for
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   33. Frost, Patricia, Defendant-Appellant

   34. Gabadage, Nimna, Defendant-Appellant

   35. Gary S. Edinger & Associates PA — Gainesville, FL, Attorney for
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   36. Greubel, Greg Harold, Attorney for Plaintiffs-Appellees

   37. Griffin, Michael, Defendant-Appellant

   38. Haddock, Jr., Edward Ellis, Defendant-Appellant

   39. Hinger, Sarah Ann, Attorney for Plaintiffs-Appellees

   40. Horton, Oscar, Defendant-Appellant

   41. Johnson, Alexsis Marie, Attorney for Plaintiffs-Appellees

   42. Jones, Kenneth, Defendant-Appellant

   43. Jordan, Darlene Luccio, Defendant-Appellant

   44. Lamb, Brian, Defendant-Appellant

   45. Leckerman, Jason Allen, Attorney for Plaintiffs-Appellees

   46. Lee, Jin Hee, Attorney for Plaintiffs-Appellees

   47. Leftheris, Julie, Defendant-Appellant

   48. Levine, Alan, Defendant-Appellant

   49. Lubin, Catharine E., Attorney for Plaintiffs-Appellees

   50. Lydecker, Charles, Defendant-Appellant

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   59. NAACP Legal Defense & Educational Fund, Inc., Attorneys for
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   62. Palyam, Nithin, Defendant-Appellant

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   64. Park, Shelley, Plaintiff-Appellee

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   66. Patel, Shilen, Defendant-Appellant

   67. Pernell, LeRoy, Plaintiff-Appellee

   68. Piccolo, Fredrick, Defendant-Appellant

   69. Ramer, John, Attorney for Defendants-Appellants

   70. Rechek, Samuel, Plaintiff-Appellee
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   71. Sandoval, Jennifer, Plaintiff-Appellee

   72. Schneider, Jenifer Jasinski, Defendant-Appellant

   73. Scott, Steven, Defendant-Appellant

   74. Seixas, Melissa, Defendant-Appellant

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   76. Silagy, Eric, Defendant-Appellant

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   78. Stermon, Kent, Defendant-Appellant

   79. Sykes, Emerson James, Attorney for Plaintiffs-Appellees

   80. Thompson Dorsey, Dana, Plaintiff-Appellee

   81. Tilley, Daniel Boaz, Attorney for Plaintiffs-Appellees

   82. Tobin, Charles David, Attorney for Plaintiffs-Appellees

   83. University of Central Florida Board of Trustees, Defendant (dismissed
       Nov. 22, 2022)

   84. University of Florida Board of Trustees, Defendant (dismissed Nov. 22,
       2022)

   85. University of South Florida Board of Trustees, Defendant (dismissed
       Nov. 22, 2022)

   86. Walker, Hon. Judge Mark E., U.S. District Court for the Northern District
       of Florida

   87. Watson, Leah Monique, Attorney for Plaintiffs-Appellees

   88. Weatherford, William, Defendant-Appellant

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    89. Wold, Megan M., Attorney for Defendants-Appellants

    Plaintiffs-Appellees further state that no publicly traded company or

corporation has an interest in the outcome of the case or appeal.


                                            Dated: June 16, 2023

                                            /s/ Leah Watson
                                            Leah Watson

                                            Counsel for Plaintiffs-Appellees




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            STATEMENT REGARDING ORAL ARGUMENT

    Plaintiffs-Appellees do not oppose the State’s request for oral argument.




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                        STATEMENT OF THE ISSUES

      (1) Whether the Act violates the First Amendment by banning endorsement

of viewpoints disfavored by the legislature while permitting denunciation of the

same viewpoints; and

      (2) Whether the Act is unconstitutionally vague.




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                                    INTRODUCTION

      “No one should underestimate the vital role in a democracy that is played by

those who guide and train our youth. To impose any strait jacket upon the intellectual

leaders in our colleges and universities would imperil the future of our Nation.”

Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957). Despite the Supreme Court’s

warning, the Stop Wrongs Against Our Kids and Employees Act, Fla. Stat.

§ 1000.05(4) (“Stop W.O.K.E. Act” or “Act”), limits training and instruction on

racism, sexism, and related issues in Florida classrooms to viewpoints approved by

the Florida legislature. It prohibits any instruction that “espouses, promotes,

advances, inculcates, or compels [a student] to believe” eight ill-defined concepts

disfavored by the legislature. At the same time, it permits instructors to promote and

inculcate the opposite points of view. It is paradigmatic viewpoint discrimination.

Moreover, the prohibited concepts are so abstract and poorly defined that the Act

leaves instructors uncertain of what they can and cannot say in the classroom and

vulnerable to arbitrary and discriminatory enforcement.

      Not since the anti-communist measures of the McCarthy era has a state

legislature interfered so directly with the academic freedom of university instructors.

It was in that period, when legislatures, like Florida’s today, sought to suppress views

they disfavored, that the Supreme Court developed the First Amendment principles

of academic freedom. As the Court said then, so today: “The Nation’s future depends


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upon leaders trained through wide exposure to that robust exchange of ideas which

discovers truth out of a multitude of tongues, rather than through any authoritative

selection.” Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967) (cleaned up).

      The Act’s very name declares its purpose: to censor viewpoints on issues of

racial and sexual equality that the legislature deemed “woke,” namely views

disfavored by the State on racial justice, affirmative action, racial privilege, and

structural inequality. App. 115–18. But that purpose—to suppress ideas disfavored

by the State—strikes at the heart of both the First Amendment’s prohibition on

viewpoint discrimination and its protection of academic freedom.

      The Act compels classroom instructors to censor their instruction on specific

topics central to their academic scholarship and coursework. The Plaintiffs-

Instructors (“Instructors”) teach a range of undergraduate and graduate courses, from

gender studies to criminal procedure to statistics. They cannot impart their expertise

and knowledge, including statements that might be construed as endorsing or

promoting banned viewpoints, without risking their professional reputations and

livelihoods. And because their universities risk losing necessary state funding if they

permit the expression of the prohibited ideas, the Instructors reasonably fear that

they will suffer discipline if they teach these issues as they have in the past.

      In a system that respects academic freedom, instructors are “exemplars of

open-mindedness and free inquiry.” Wieman v. Updegraff, 344 U.S. 183, 196 (1952)


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(Frankfurter, J., concurring). But instructors in Florida can no longer perform this

vital role. Each of the Instructors in this suit has identified how they would have to

circumscribe core tenets of their instruction to comply with the Act, to their students’

and their own detriment. They would be required to avoid altogether or to denounce

concepts and views that are foundational to their academic fields and scholarship.

The Act effectively precludes them from teaching all sides of an issue, including the

arguments for and against each position, for fear of “endorsing” a proscribed

viewpoint in doing so. An instructor teaching affirmative action, for example, could

not offer arguments supporting the practice, but would be free to offer arguments

that condemn it—even the Supreme Court is considering such arguments at this very

moment. Indeed, it is not even clear that the instructor could assign Supreme Court

opinions that since Regents of Univ. of Cal. v. Bakke, 438 U.S. 265 (1978), have

endorsed    race-based     affirmative    action    as   constitutional.   Fla.    Stat.

§ 1000.05(4)(a)(6); Supplemental Appendix (“SA”) 455.

      And while this Act prohibits the expression of certain views about systemic

racism and sexism, if the State were correct, another State would be free to censor

instructors from espousing any views it disfavors, including questioning climate

change, opposing abortion, or for that matter, criticizing the government. In the

State’s view, instructors’ speech deserves no protection, so the government is free to

dictate every word. Such a result would entirely upend the Supreme Court’s


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recognition that “[t]eachers and students must always remain free to inquire, to study

and to evaluate, to gain new maturity and understanding; otherwise our civilization

will stagnate and die.” Sweezy, 354 U.S. at 250.

                          STATEMENT OF THE CASE

      Florida’s State University System is committed to promoting viewpoint

diversity and providing “a learning environment where divergent ideas, opinions,

and philosophies, new and old, can be rigorously debated and critically evaluated.”

Doc. 13, 3–4. Consistent with this goal, institutions within this system created

initiatives to promote an inclusive learning environment by hiring instructors with

expertise in the experiences of marginalized people, creating committees to examine

equity issues in higher education, and providing grants to instructors to pursue

research related to diversity and inclusion. See SA 4, 46–49, 64, 67–69, 105.

Florida’s universities redoubled these inclusion efforts following the nationwide

reckoning with race and systemic inequality inspired by the killing of George Floyd

and Black-led multiracial movement for racial justice. App. 104–06.

 I.   The Stop W.O.K.E. Act

      The Stop W.O.K.E. Act was enacted on April 22, 2022, and went into effect

on July 1, 2022. App. 88, 119; Fla. Stat. § 1000.05(4). As described by its

proponents, the Act sought to stamp out “pernicious ideologies” like “woke[ness],”

“Critical Race Theory,” “white privilege,” and “race-conscious[ness]” from Florida


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classrooms. App. 111–12, 115, 293. In hearings, members of the public testified that

it would stifle important discussions about race and identity, prevent students from

learning full and accurate history, and expose racial and ethnic minorities to

increased discrimination. App. 147–50. The bill’s sponsors maintained the Act was

needed to address indoctrination, although no evidence of indoctrination within the

State University System was presented. App. 120.

      The Stop W.O.K.E. Act amends the Florida Educational Equity Act, which

regulates discrimination against students and employees in the K-20 system. Section

(4)(a) provides:

             It shall constitute discrimination on the basis of race, color,
             national origin, or sex under this section to subject any
             student or employee to training or instruction that
             espouses, promotes, advances, inculcates, or compels such
             student or employee to believe any of the following
             concepts:

                   1. Members of one race, color, national origin, or
                   sex are morally superior to members of another
                   race, color, national origin, or sex.
                   2. A person, by virtue of his or her race, color,
                   national origin, or sex is inherently racist, sexist, or
                   oppressive, whether consciously or unconsciously.

                   3. A person’s moral character or status as either
                   privileged or oppressed is necessarily determined
                   by his or her race, color, national origin, or sex.

                   4. Members of one race, color, national origin, or
                   sex cannot and should not attempt to treat others


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                    without respect to race, color, national origin, or
                    sex.

                    5. A person, by virtue of his or her race, color,
                    national origin, or sex bears responsibility for, or
                    should be discriminated against or receive adverse
                    treatment because of, actions committed in the past
                    by other members of the same race, color, national
                    origin, or sex.
                    6. A person, by virtue of his or her race, color,
                    national origin, or sex should be discriminated
                    against or receive adverse treatment to achieve
                    diversity, equity, or inclusion.
                    7. A person, by virtue of his or her race, color, sex,
                    or national origin, bears personal responsibility for
                    and must feel guilt, anguish, or other forms of
                    psychological distress because of actions, in which
                    the person played no part, committed in the past by
                    other members of the same race, color, national
                    origin, or sex.

                    8. Such virtues as merit, excellence, hard work,
                    fairness, neutrality, objectivity, and racial
                    colorblindness are racist or sexist, or were created
                    by members of a particular race, color, national
                    origin, or sex to oppress members of another race,
                    color, national origin, or sex.
Section (4)(b) states:

             Paragraph (a) may not be construed to prohibit discussion
             of the concepts listed therein as part of a larger course of
             training or instruction, provided such training or
             instruction is given in an objective manner without
             endorsement of the concepts.
Fla. Stat. § 1000.05(4)(a)–(b).




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      On August 26, 2022, the Florida Board of Governors (“BOG”) issued

regulations mandating the investigation of complaints by universities and prompt

corrective action for violations, including disciplinary actions or termination for

“failure or refusal to comply with the mandate.” 10.005 Prohibition of

Discrimination in University Training or Instruction, Bd. of Governors, State Univ.

Sys. of Fla. (Aug. 26, 2022) (“BOG 10.005”), § (3)(c).

      Where the BOG learns that a university “willfully and knowingly” failed to

correct a substantiated violation of the Stop W.O.K.E. Act, “the university will be

ineligible for performance funding for the next fiscal year[.]” Id. § (4)(d).

II.   The Stop W.O.K.E. Act’s Effects on the Instructors

      The Instructors teach courses related to race, sex, systemic inequalities, and

privilege at public universities in Florida—courses which include the prohibited

concepts under the Act. App. 77–85. As a result, they must self-censor or risk

disciplinary action.

      Instructor LeRoy Pernell teaches courses on criminal procedure and race and

the law at Florida A&M University College of Law. App. 327. He uses a casebook

he authored, Cases and Materials on Combatting Racism in Criminal Procedure,

which provides argument and evidence that racism is embedded in the criminal legal

system and identifies the role of race in each major stage of the criminal process.

App. 328; SA 4, 8–10, 12–13.


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      Instructor Dana Thompson Dorsey teaches courses such as School Law and

Critical Race Studies: Research, Policy, and Praxis at the University of South

Florida. App. 328. Her coursework focuses on educational equity; examines the

impact of local, state, and federal laws on marginalized students; and teaches

graduate students how to use research frameworks like Critical Race Theory to

analyze the aforementioned issues. SA 46, 51–52.

      Instructor Sharon Austin teaches at the University of Florida. App. 328; SA

64. Her courses include Politics of Race at the University of Florida, Black Horror

and Social Justice, and African American Politics and Policy. App. 328–29; SA 69–

71. She endorses Critical Race Theory as a useful theoretical framework and

advocates for race-conscious remedies like affirmative action. App. 329; SA 74–76.

      Instructor Shelley Park teaches at the University of Central Florida. App. 329;

SA 85. Her courses include Feminist Theories, Theories of Sex & Gender in the

Humanities, Race and Technology, and Introduction to Philosophy. Id.; SA 86.

Instructor Park critiques concepts like merit, objectivity, and colorblindness, and

expresses the view that they function to solidify systems of oppression. SA 97.

      Instructor Jennifer Sandoval teaches “interpersonal, intercultural, and gender

communication” at the University of Central Florida. App. 329–30; SA 104–105.

Her coursework “explores ways in which identity and culture affect communication




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in various contexts[,]” and includes sections on “whiteness” and racial disparities in

academia. App. 330; SA 105, 108.

       Instructor Russell Almond teaches courses on statistics and data analysis and

an Educational Psychology Colloquium at Florida State University. App. 330; SA

186, 188. As is common in his field and critical to his scholarship, Instructor Almond

examines race as a factor in educational measurements and statistical models,

identifies statistical bias and measures to counter bias in measurement systems, and

considers the impact of white privilege on achievement gaps. App. 330; SA 190–94.

III.   Procedural History

       On August 18, 2022, the Instructors filed a complaint alleging that the Act

violates the First and Fourteenth Amendments. App. 33, 77. They moved to enjoin

preliminarily the higher education provisions of the Act on the grounds that the Act

impermissibly discriminates on the basis of viewpoint and is unconstitutionally

vague. App. 34; 302–03.

       On November 17, 2022, the district court granted in part and denied in part

the motion for preliminary injunction. App. 41. After reviewing Supreme Court and

Eleventh Circuit precedent, the district court held: “two things are clear: (1) the First

Amendment protects university professors’ in-class speech and (2) Bishop remains

the binding authority guiding this Court's analysis of Plaintiffs’ speech claims.” App.

321 (referencing Bishop v. Aronov, 926 F.2d 1066 (11th Cir. 1991)).


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      Next, the court held that six professors 1 in the Pernell action—the Instructors

—had standing because they must “either self-censor[]” or share viewpoints “despite

risk of discipline[,]” App. 344, and because they alleged that their instruction would

implicate each prohibited concept. App. 346.

      Turning to the merits of the First Amendment claims, the court considered the

three factors identified in Bishop, concluding that the Act constitutes impermissible

viewpoint discrimination. App. 397–99. The court also held that the Act’s terms

were unconstitutionally vague. App. 405, 416.

      Finally, the court found that the other preliminary injunction factors weighed

in the Instructors’ favor. App. 418–19.

                            STANDARD OF REVIEW

      A preliminary injunction is warranted under Fed. R. Civ. P. 65 where Plaintiffs

show: “(1) [they] ha[ve] a substantial likelihood of success on the merits; (2)

irreparable injury will be suffered unless the injunction issues; (3) the threatened

injury to the movant[s] outweighs whatever damage the proposed injunction may

cause to the [opposing] party; and (4) if issued, the injunction would not be adverse

to the public interest.” Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349,




1
 The court held that Plaintiff-Instructor Dunn and Plaintiff-Student Dauphin did not
have standing for purposes of a preliminary injunction. App. 345, 370.
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1354 (11th Cir. 2005) (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)

(en banc)).

      “A district court’s grant of a preliminary injunction order involves a mixed

standard of review.” S.E.C. v. Unique Fin. Concepts, Inc., 196 F.3d 1195, 1198 (11th

Cir. 1999). The “decision to grant the injunction is reviewed for abuse of discretion,”

while “[q]uestions of law supporting the injunction are reviewed de novo” and

“[f]indings of fact are reviewed for clear error.” Id. (internal citations omitted). This

Court’s review is “justifiably limited because ‘the grant or denial of a preliminary

injunction is almost always based on an abbreviated set of facts, requiring a delicate

balancing of the probabilities of ultimate success . . . with the consequences of

immediate irreparable injury which could possibly flow from the denial of

preliminary relief.’” Mitsubishi Int’l Corp. v. Cardinal Textile Sales, Inc., 14 F.3d

1507, 1517 (11th Cir. 1994) (quoting Revette v. Int’l Ass’n of Bridge Workers, 740

F.2d 892, 893 (11th Cir. 1984) (per curiam)).

                           SUMMARY OF ARGUMENT

      The district court correctly held that the Stop W.O.K.E. Act impermissibly

discriminates on the basis of viewpoint by seeking to suppress politically disfavored

ideas. That is, after all, the very purpose of the law.

      The district court was guided, as this Court must be, by Bishop v. Aronov, 926

F.2d 1066, which requires consideration of three factors on a case-by-case basis to


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assess the constitutionality of restrictions on university instructors’ speech: (1)

context; (2) the university’s position as a public employer; and (3) academic freedom

interests. App. 380–81 (citing Bishop, 926 F.2d at 1074–75). All three factors

support the Instructors’ claims here.

      First, with respect to context, the Act directly and broadly suppresses the

speech of thousands of public university instructors with a prophylactic rule banning

academic speech, in a context where students are largely adults and there is a long

tradition of respecting instructors’ freedom to express themselves on topics relevant

to the classes they are assigned to teach. Second, in the public university setting, the

State’s interest in controlling the speech of its employees is reduced. It has long been

recognized that the educational mission requires that university instructors be

afforded substantial leeway in the views they express, and that public universities be

insulated from impermissible censorship by the political branches. Third, and

relatedly, the First Amendment principle of academic freedom protects both

universities and instructors from impermissible political micromanagement of their

speech by the legislature. While the legislature may have a role in directing the

subject matters that should be taught, it cannot dictate the viewpoints instructors

express within those subjects without eviscerating academic freedom.

      The State claims that instructors’ classroom speech is “government speech,”

and therefore lacks any First Amendment protection and is fully subject to the


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legislature’s control. State Br. 24. But that argument is foreclosed by Bishop, which

expressly recognizes that instructors have individual First Amendment rights in their

classroom discussion. In any event, no one thinks a university instructor teaching a

class is expressing the government’s view, and the principle of academic freedom

establishes precisely the opposite.

      The Act is also unconstitutionally vague, as the district court correctly held. It

fails to clearly define the speech it prohibits. It broadly forbids “instruction” that

“espouses, promotes, advances, inculcates, or compels” a series of abstract concepts.

Fla. Stat. § 1000.05(4)(a). Because the concepts are highly abstract, what falls within

the prohibition is far from clear. And the Act sets out a wholly confounding

distinction between objectively discussing the concepts, which is permitted, and

endorsing or promoting them, which is not. That distinction, virtually impossible to

discern in many discussions of contested topics, is far too evanescent to permit the

imposition of legal penalties in the classroom. If an instructor assigned a judicial

opinion defending affirmative action, for example, and suggested in discussion that

the opinion made a convincing argument, would that be impermissible

“endorsement” or an “objective” discussion? And the law’s vagueness is further

exacerbated by the fact that it includes no scienter element, and allows a violation to

turn on subjective listener reaction—whether a student was “compelled” by speech

to believe a proscribed idea.


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      The district court also properly held the Instructors have standing, adequately

demonstrating that they are subject to and chilled by each concept enumerated in the

Act, and that severing the unconstitutional provisions would not salvage the Act.

Finally, the court correctly held that the remainder of the equitable factors weighed

in favor of the preliminary injunction. The loss of the Instructors’ First Amendment

freedoms constitutes irreparable injury. The State is not harmed by the injunction of

this unconstitutional Act, and the State has other means of preventing discrimination

in education.

                                  ARGUMENT

 I.   The Instructors Have Standing to Challenge the Stop W.O.K.E. Act

         A. The Instructors Must Self-Censor or Risk Discipline

      The Instructors have standing because they reasonably fear discipline under

the Act if they continue to teach as they have been, and are therefore compelled to

censor their classroom speech. Each prohibited concept chills at least one

Instructor’s speech, and the Instructors are further chilled by the Act’s ill-defined

concepts, unclear scope of prohibited acts, and vague distinction between objective

discussion and endorsement.

      Standing is established where plaintiffs demonstrate (1) an “injury-in-fact,”

(2) fairly traceable to the defendant’s challenged action, (3) that is “likely” to be

“redressed by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–


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61 (1992). Here, it is undisputed that the Instructors are subject to the Act, their

injuries are traceable to the Act, and would be remedied by the relief sought. The

only dispute is whether the Instructors meet the injury-in-fact requirement. See State

Br. 20–23; SA 337.

      In the First Amendment context, the injury-in-fact requirement is “most

loosely applied . . . because of the fear that free speech will be chilled even before

the law, regulation, or policy is enforced.” ACLU v. Fla. Bar, 999 F.2d 1486, 1493–

94 (11th Cir. 1993); see also Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1120

(11th Cir. 2022). In addition, a party “can bring a pre-enforcement suit when [they]

ha[ve] alleged an intention to engage in a course of conduct arguably affected with

a constitutional interest, but proscribed by a statute, and there exists a credible threat

of prosecution.” Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1304 (11th Cir.

2017) (en banc) (cleaned up).

      Particularly where, as here, a law is challenged as vague, the Instructors are

not required to “confess that [they] will in fact violate that law,” because the law

itself provides no clear definition of what would constitute a violation. Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 163 (2014); see also Babbitt v. United Farm

Workers Nat’l Union, 442 U.S. 289, 301 (1979); cf. CAMP Legal Def. Fund, Inc. v.

City of Atlanta, 451 F.3d 1257, 1275 (11th Cir. 2006) (“Where a plaintiff alleges that

a statute grants unbridled discretion, a plaintiff need only be ‘subject to’ the provision


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to establish a constitutional injury.”) (quoting City of Lakewood v. Plain Dealer

Publ’g Co., 486 U.S. 750, 755–76 (1988)). In assessing standing at the preliminary

injunction stage, courts routinely review allegations from the movant’s declarations,

in addition to the complaint and legal briefs. See, e.g., Wollschlaeger, 848 F.3d at

1304; Dream Defs. v. DeSantis, 559 F. Supp. 3d 1238, 1252, 1257 (N.D. Fla. 2021).

          B. Each Concept Chills the Speech of the Instructors

      The State does not dispute that the Instructors are chilled by concepts two,

four, and eight.2 State Br. 20. But the Instructors have standing to challenge all eight

prohibitions, because, as the district court properly held, App. 346, they are chilled

by the Act in its entirety, including by each concept. The Instructors are chilled not

only because they intend to promote viewpoints prohibited by the Act, but also

because, given the Act’s sweeping and vague prohibition, their instruction could be

interpreted as violating the Act’s prohibitions even if they do not think they are

endorsing a prohibited viewpoint. App. 346, 350–56; SA 94, 107. In addition, as the

district court correctly concluded, the Instructors pleaded facts sufficient to establish

standing as to the remaining concepts.




2
  Instructor Park is chilled by concept two. App. 353; SA 95; see also SA 9, 74–75.
Instructors Pernell, Thompson Dorsey, Austin, Park, and Almond are chilled by
concept four. App. 346, 349–56; SA 9–11, 55–56, 75–76, 92, 193–94. Finally,
Instructors Thompson Dorsey, Austin, Park, and Sandoval are chilled by concept
eight. App. 349–55; SA 55–56, 75–76, 92, 107–08.
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      Concept one prohibits instruction that espouses or compels a student to

believe “[m]embers of one race, color, national origin, or sex are morally superior

to members of another race, color, national origin, or sex.” Fla. Stat.

§ 1000.05(4)(a)(1). The district court found Instructor Park is chilled by this concept

because her instruction on how one’s race, sex, and ability affect privilege could be

interpreted as falling under this concept. App. 353, n.32. As Instructor Park testified:

“My instruction illuminates the ways in which all of us (myself included) may

participate in upholding oppressive structures, intentionally or unintentionally.” SA

95. For example, students are engaged in activities that provide “a memorable lesson

about what it . . . means (and feels like) to be ‘centered’ or ‘marginalized.’” Id.

Instructors Thompson Dorsey and Austin are also chilled because their promotion of

viewpoints related to the historical disadvantages of Black people arguably conflicts

with the concept. SA 56–57, 74–75.

      Concept three prohibits instruction that espouses or compels a student to

believe “[a] person’s moral character or status as either privileged or oppressed is

necessarily determined by his or her race, color, national origin, or sex.” Fla. Stat.

§ 1000.05(4)(a)(3). The district court found Instructors Pernell, Thompson Dorsey,

Austin, Park, Sandoval, and Almond are chilled by this concept based on their

promotion of viewpoints related to the existence and ongoing effects of systemic

racism in the legal system, their criticism and/or denunciation of colorblindness,


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their teachings that racism perpetuates certain advantages and disadvantages

between members of different races, and that unearned privilege and marginalization

shape the experience of others. App. 346, 349–56. For example, Instructor

Thompson Dorsey testified:

      The Stop W.O.K.E. Act impacts my ability to teach School Law and
      Critical Race Studies because [these] courses . . . build upon the
      understanding that racism is deeply embedded in American society . . .
      I am concerned that I cannot discuss Critical Race Theory at all, which
      is a foundational and necessary topic that students must understand in
      Critical Race Studies.

SA 55; see also SA 9–11, 74–76, 95, 107–08, 193–94.

      Concept five prohibits instruction that espouses or compels a student to

believe “[a] person, by virtue of his or her race, color, national origin, or sex bears

responsibility for, or should be discriminated against or receive adverse treatment

because of, actions committed in the past by other members of the same race, color,

national origin, or sex.” Fla. Stat. § 1000.05(4)(a)(5). The district court correctly

found Instructor Park is chilled by this concept based on her teaching exercise

described with respect to concepts one and two, and her promotion of the viewpoint

that different people have distinct privileges by virtue of race and that unearned

privilege and marginalization shape the experience of others. See App. 352–53; SA

95.

      Concept six prohibits instruction that espouses or compels a student to believe

“[a] person, by virtue of his or her race, color, national origin, or sex should be

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discriminated against or receive adverse treatment to achieve diversity, equity, or

inclusion.” Fla. Stat. § 1000.05(4)(a)(6). The district court found Instructor Austin is

chilled by this concept because her instruction on Critical Race Theory, and

viewpoints concerning the value of race-conscious remedies and affirmative action,

could be interpreted as falling under this concept. App. 350–51; SA 75–76.

Instructors Almond and Sandoval are also chilled based on their promotion of

viewpoints related to affirmative action in light of the historical exclusion of people

of color from particular areas of academic study. SA 107–09, 196–97.

      Concept seven prohibits instruction that espouses or compels a student to

believe “[a] person, by virtue of his or her race, color, sex, or national origin, bears

personal responsibility for and must feel guilt, anguish, or other forms of

psychological distress because of actions, in which the person played no part,

committed in the past by other members of the same race, color, national origin, or

sex.” Fla. Stat. § 1000.05(4)(a)(7). The district court found Instructor Park is chilled

by this concept based on her teaching exercise described with respect to concepts

one, two, three, and five. App. 352–53; SA 95. As the court found, because this

exercise is premised on the notion that concepts like unearned privilege and

oppression are valid, having students participate in the exercise could reasonably

make them believe they “bear . . . responsibility” for and must feel guilty about their

racial privilege. App. 353, n.32.


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      The State concedes that the Instructors specifically raise concerns with

concepts three, six, and seven, but argues they should be required to allege with

specificity how their teaching violates the law or how they misunderstand the law’s

meaning. See State Br. 20–21. But the lower court’s findings are based on how the

Instructors’ speech could be perceived, not merely on what they intend, which is the

proper inquiry in determining standing. 3 See Susan B. Anthony List, 573 U.S. at 163;

Babbitt, 442 U.S. at 301. The district court correctly found that the Instructors

reasonably fear their teaching could be construed to violate the Act; no more is

required.

      Contrary to the State’s assertion, the district court did not “supplement[]” the

Instructors’ allegations, violating the presentation principle.4 State Br. 22–23. The

district court merely disagreed with the Instructors’ and the State’s articulation of

the legal standard for standing. App. 337. Any fair reading of the Instructors’



3
  With regard to concept three, the State further ignores Instructor Sandoval’s stated
intention to teach about whiteness and race-consciousness as “foundational
premise[s],” which arguably conflicts with the concept. App. 354.
4
  The presentation principle requires the parties, rather than the courts, “to frame the
issue for decision.” United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020).
Compare id. at 1578 (finding the principle violated where the appeals court “named
three amici and invited them to brief and argue issues framed by the panel, including
a question [the plaintiff] never raised.”), with id. at 1579 n.4 (the principle is not
violated when courts call for supplemental briefing or correct a miscalculation of the
statute of limitations).

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allegations demonstrates that at least one Instructor reasonably fears violating each

prohibition in the Act.

      The State fundamentally misunderstands the Instructors’ argument with

respect to their challenge to the Act as a whole. State Br. 22. First, as explained

above, the Instructors allege that each of the eight concepts chills their instruction

because they cannot distinguish between permissible and prohibited speech

concerning that subject. The highly abstract and interrelated nature of the concepts

compounds the Act’s chilling effect; the concepts overlap, causing the chill to spread

wider than a narrow reading of any concept in isolation. Second, the Instructors

specifically set forth how the vagueness of individual concepts is compounded by

the vagueness of other provisions in the Act, see infra, pp. 44–46, thereby making it

even more challenging to know what instruction will expose them to liability.

II.   The Stop W.O.K.E. Act Violates the First Amendment

          A. Bishop Requires a Case-by-Case Inquiry

      The district court correctly held, and the State does not dispute, that “the

Eleventh Circuit’s balancing test in Bishop” governs this action. App. 307; State Br.

3. In Bishop, this Court considered the free speech rights of a physiology professor

at a public university who had been instructed, after multiple complaints from

students, to refrain from “interjecting his religious preferences and/or beliefs not

necessary to class instruction or class materials.” 926 F.2d at 1069. Recognizing that


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the need “to calibrate the Constitution” to the special characteristics of “the

university classroom” necessitated a “case-by-case inquiry,” the Court identified a

series of factors to be examined in each case:

      (1) “the context,” (2) “the University’s position as a public employer
      which may reasonably restrict the speech rights of employees more
      readily than those of other persons,” specifically with respect “to
      reasonably control[ling] the content of its curriculum, particularly that
      content imparted during class time,” and (3) “the strong predilection for
      academic freedom as an adjunct of the free speech rights of the First
      Amendment.”

App. 380–81 (quoting Bishop, 926 F.2d at 1074–75).

      The relevant context in Bishop was “the university classroom during specific

in-class time.” 926 F.2d at 1074. Within this context, this Court deemed that “[t]he

University’s interest is most obvious when student complaints suggest apparent

coercion [by the professor].” Id.

      Next, this Court considered the University’s interest as a “public employer,”

including its “authority to reasonably control the content of its curriculum,” and the

tangential and more limited “authority over the conduct of teachers in and out of the

classroom that significantly bears on the curriculum or that gives the appearance of

endorsement by the university.” Id. The Court relied on the “concern for the ‘basic

educational mission’ of the school which gives it authority by the use of ‘reasonable

restrictions’ over in-class speech that it could not censor outside the classroom.” Id.

(quoting Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 266–67 (1988)). In


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Hazelwood, the Bishop Court’s “polestar” for evaluating the school’s interests, 926

F.2d at 1074, the Supreme Court held that restrictions on First Amendment rights “in

school-sponsored expressive activities” must be “reasonably related to legitimate

pedagogical concerns.” Hazelwood Sch. Dist., 484 U.S. at 273. Because the

professor’s religious views had nothing to do with the subjects he was paid to teach,

the school had authority to prohibit them.

      Finally, the Court noted the “somewhat countervailing” “strong predilection

for academic freedom as an adjunct of the free speech rights of the First

Amendment” and the “invaluable role academic freedom plays in our public schools,

particularly at the post-secondary level.” Bishop, 926 F.2d at 1075. The Court

recognized that First Amendment academic freedom protects both “the independent

and uninhibited exchange of ideas among teachers and students” and “autonomous

decision making by the academy itself.” Id. (quoting Regents of Univ. of Mich. v.

Ewing, 474 U.S. 214, 226 n.12 (1985)). Respecting the university’s academic

freedom to determine whether religious indoctrination had anything to do with the

subjects taught, the Court declined to “supplant [its] discretion for that of the

University,” “trust[ing] that the University will serve its own interests as well as

those of its professors in pursuit of academic freedom.” Id.




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      This Court held that directing Dr. Bishop not to continue interposing his

irrelevant religious views into a secular class was reasonable in light of the balance

of relevant factors. Id. at 1076.

          B. The Instructors’ Free Speech Claims Prevail Under Bishop

      The district court correctly held that “Bishop’s balancing test—as applied to

the facts before this Court—favors [the Instructors’ and Students’] free speech rights

over [the State’s] enforcement of a viewpoint-discriminatory ban targeting protected

speech.” App. 397. It is one thing for a university to determine that religious views

have no role in a secular class. It is another matter entirely for a state legislature to

micromanage the permissible views that may be expressed on subjects indisputably

appropriate for the classes being taught. Not surprisingly, each of the three Bishop

factors weighs heavily in favor of the Instructors here.

                 i. Context

      While the context of this case, like Bishop, involves classroom instruction, the

similarity ends there. The Act imposes a viewpoint-based legislative restriction on

the scholarly views the Instructors can advance in the courses they were hired to

teach. Unlike in Bishop, there is no suggestion that the views the Instructors seek to

espouse are irrelevant to approved courses. And here it is the legislature censoring

views, not the university ensuring that its professors teach the subject matter they

are assigned.


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      Moreover, this is not a surgical response by university administrators to a

particular problem in a particular class. Instead, the Act is a “prophylactic ban on

university employees’ speech [that] affects potentially thousands of professors and

serves as an ante hoc deterrent that ‘chills potential speech before it happens,’ and

‘gives rise to far more serious concerns than could any single supervisory decision.’”

App. 384 (quoting United States v. Nat’l Treasury Emps. Union, 513 U.S. 454, 468

(1995)).

                ii. State Interests

      The state interests at stake here and in Bishop are also radically different. In

Bishop, the university sought to avoid religious coercion and the interposition of

wholly irrelevant matter into classroom teaching. Here, by contrast, those interests

are not present at all. The Act censors the viewpoints instructors can express within

approved courses. Such viewpoint-based discrimination by the legislature is a

political act of censorship, not a state university’s reasonable judgement about

pedagogy.

                       a) The Act is a Viewpoint-Based Restriction

      The Stop W.O.K.E. Act is indisputably a viewpoint-based regulation. It

prohibits only certain views on a variety of subjects, while permitting expression of

opposing points of view on the same subject. App. 386. Viewpoint-based

discrimination is constitutionally suspect. See Speech First, 32 F.4th at 1126


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(“‘[R]estrictions . . . based on viewpoint are prohibited,’ seemingly as a per se

matter”) (quoting Minn. Voters All. v. Mansky, 138 S. Ct. 1876, 1885 (2018)).

      This Court has “emphasized ‘that the dangers of viewpoint discrimination are

heightened in the university setting.’” Id. at 1127 n.6 (quoting Gay Lesbian Bisexual

All. v. Pryor, 110 F.3d 1543, 1550 (11th Cir. 1997)). A legislature’s ban on the

expression of specific views on otherwise permissible subject matter interferes

directly with the universities’ “chief mission”—“to equip students to examine

arguments critically and, perhaps even more importantly, to prepare young citizens

to participate in the civic and political life of our democratic republic.” Id. at 1128.

       Even in the context of government funding, where the government has wide

discretion in choosing how to spend its dollars, the Supreme Court has said that the

government may not seek to “suppress[] dangerous ideas.” Nat’l Endowment for the

Arts v. Finley, 524 U.S. 569, 587 (1998); see also Regan v. Taxation With

Representation of Wash., 461 U.S. 540, 548 (1983) (“The case would be different if

Congress were to discriminate invidiously in its subsidies in such a way as to aim at

the suppression of dangerous ideas.”) (cleaned up). Yet as its name proclaims, that

is precisely what the Stop W.O.K.E. Act seeks to do: to suppress the expression of

“woke” ideas.

      By contrast, in Bishop, this Court stressed that the university was not aiming

to suppress particular viewpoints, but to limit discussion of irrelevant topics


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regardless of the viewpoint. 926 F.2d at 1077–78 (“Should another professor express

[different] religious beliefs in the classroom, the University would likely produce a

similar memo.”).

                       b) The Act Does Not Reasonably Serve Any Legitimate
                          Pedagogical Purpose

      The State’s claim that the Act’s purpose was to forestall discrimination falls

flat. First, this justification is at odds with statements by the Act’s sponsors and

proponents, who repeatedly emphasized that the Act was designed to suppress

particular viewpoints disapproved as “woke.” App. 111–12, 115–16, 118–19.

      Second, the Act does not target discriminatory conduct, State Br. 44, but

protected speech. It is unlike civil rights laws, including Title VII and Title IX, which

target conduct and only incidentally restrict speech in some applications. While the

Supreme Court has found Title VII to proscribe harassment only when it is so severe

or pervasive as to create an abusive work environment, the Act prohibits the mere

expression of disfavored ideas before they are spoken, without regard to its effect.

Cf. Tonkyro v. Sec’y, Dep’t of Veterans Affairs, 995 F.3d 828, 837 (11th Cir. 2021)

(holding that First Amendment interests “ensure that Title VII does not become a

‘general civility code’”) (quoting Faragher v. Cty. of Boca Raton, 524 U.S. 775, 788




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(1998)); Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d 798, 810 (11th Cir.

2010). 5

      Third, the Act restricts far more speech than necessary to remedy any putative

discrimination. A state’s compelling interest in remedying discrimination must be

furthered in a manner that does not unduly restrict speech. The state has a compelling

interest in providing an equal opportunity to participate in the workforce without

regard to race, and prohibitions on racial discrimination are precisely tailored to

achieve that critical goal. See, e.g., R.A.V. v. St. Paul, 505 U.S. 377, 395, 404 n.5

(1992) (“We do not doubt that these [anti-discrimination] interests are compelling,

and that the ordinance can be said to promote them. But the danger of censorship”

requires that the law be “necessary to serve the asserted [compelling] interest.”

(cleaned up)). Prophylactically excising particular disfavored viewpoints from

university classrooms, regardless of whether the speech effectuates any

discrimination whatsoever, is anything but narrowly tailored.

      The State’s reliance on Arce v. Douglas, 793 F.3d 968 (9th Cir. 2015), to

explain the “reasonable” relationship between the Act and a governmental interest

in prohibiting racial discrimination, State Br. 44, is misplaced. Arce reaffirms that



5
  The State’s citation to Bob Jones University v. United States, 461 U.S. 604 (1983)
(cited at State Br. 44), is unavailing, as that case involved not an effort to suppress
ideas, but the denial of tax-exempt status to schools with admissions policies that on
their face excluded students on the basis of race.
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the means of pursuing even a legitimate interest must be reasonable and cannot

impermissibly burden speech. The Arce court held that one provision of the

challenged law violated the First Amendment because it “threaten[ed] to chill the

teaching of ethnic studies courses . . . without furthering the legitimate pedagogical

purpose of reducing racism.” 793 F.3d at 986. And in upholding a different provision

of the law, the court reasoned that it “target[ed] the design and implementation of

courses and curricula and [did] not restrict . . . class discussions.” Id. at 985.

Additionally, Arce addressed restrictions on permissible K-12 curriculum, and thus

the court was not required to consider the important scope of academic freedom in

the higher education context at issue here.

      Here, the Act does restrict class discussions, in the university setting, and

chills speech on pedagogically appropriate subjects. As the district court held, the

State’s attempt “to dress up [its] interest as a public employer and educator as

prohibiting discrimination in university classrooms . . . does not give [the State] a

safe harbor in which to enforce viewpoint-based restrictions targeting protected

speech.” App. 388.

      The State’s suggestion that without the Act, Holocaust denial and other

concerning hypotheticals will be allowed to flourish in Florida’s colleges and

universities, State Br. 41–43, is unfounded. Viewpoint-neutral academic standards




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are more than sufficient to address Holocaust denial, just as they would stop an

instructor from teaching that the Earth is flat.

               iii. Academic Freedom

      The final Bishop factor strongly favors the Instructors. The Act strikes at the

very heart of academic freedom—the freedom “to inquire, to study and to evaluate,

to gain new maturity and understanding.” Sweezy, 354 U.S. at 250. It prohibits

espousing views on subjects that are indisputably relevant to the courses the

Instructors teach. Academic freedom bars the State from “impos[ing] any strait

jacket upon the intellectual leaders in our colleges and universities.”6 Id.

      Significantly, the Instructors do not challenge a decision made by “the

academy itself,” as in Bishop, 926 F.2d at 1075 (quoting Ewing, 474 U.S. at 226

n.12), but the legislature’s intrusion on the academic freedom of both universities


6
  While the State argues that the Instructors enjoy no individual interest in academic
freedom, this argument is without merit. The State cites non-binding precedent to
support this position but fails to address contrary holdings. For example, the State
relies on a concurrence in Emergency Coalition, State Br. 38, but ignores the
majority explanation: “[a]ssuming that the right to academic freedom exists and that
it can be asserted by an individual professor, its contours in this case are certainly
similar to those of the right of free speech.” Emergency Coal. to Defend Educ. Travel
v. U.S. Dep’t of the Treasury, 545 F.3d 4, 12 (D.C. Cir. 2008). Other circuits support
this contention. See Piarowski v. Ill. Cmty. Coll. Dist. 515, 759 F.2d 625, 629 (7th
Cir. 1985) (“[Academic freedom] is used to denote both the freedom of the academy
to pursue its ends without interference from the government . . . and the freedom of
the individual teacher.”); Johnson-Kurek v. Abu-Absi, 423 F.3d 590, 594 (6th Cir.
2005) (“This is not to say that professors must leave their First Amendment rights at
the campus gates. That a teacher does have First Amendment protection under
certain circumstances cannot be denied.”) (internal marks omitted).
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and their professors. App. 395–97; SA 383–84. If legislatures can micromanage

instructors’ classroom speech, censoring views they dislike, academic freedom will

be an illusion. Each successive administration or legislative body would be free to

censor the ideas they disfavor from public university classroom discussion. See, e.g.,

Wieman, 344 U.S. at 197–98 (Frankfurter, J., concurring).

      The State contends that Bishop “already balanced the First Amendment

interests . . . concluding, again, that ‘[t]he University necessarily has dominion over

what is taught by its professors.”’ State Br. 3–4, 25–26 (citing Bishop, 926 F. 2d at

1078). But this case involves not a university’s decision about content that is

irrelevant to a particular course, but the legislature’s intrusion into the viewpoints

individual instructors can express on indisputably relevant subjects.

          C. The Instructors’ Classroom Speech Is Not “Government Speech”

      The State argues that instructors’ classroom speech is “government speech,”

State Br. 26, subject to the analysis in Garcetti v. Ceballos, 547 U.S. 410 (2006);

State Br. 28–29. But Bishop forecloses this contention that professors’ classroom

speech is “not protected by the First Amendment.” State Br. 36. Bishop’s weighing

of a professor’s “free speech rights” demonstrates that professors’ classroom speech

is not government speech; otherwise, there would be nothing to balance on a case-

by-case basis. 926 F.2d at 1072–74 (noting that “neither teachers nor students ‘shed

their constitutional rights to [free speech] at the schoolhouse gate,’” (quoting Tinker


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v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969)), and explaining

that there is “no substitute for a case-by-case inquiry” into whether state interests

justify an intrusion on those rights). This Court’s balancing recognizes that a state

university’s interests may sometimes outweigh those of the instructor. Id. at 1076–

77. But it also affirms that “[o]ur nation is deeply committed to safeguarding

academic freedom, which is of transcendent value to all of us, not merely to the

teachers concerned. That freedom is therefore a special concern of the First

Amendment . . . .” Id. at 1075 (quoting Keyishian, 385 U.S. at 603). Garcetti,

moreover, expressly reserved whether its reasoning applies to “case[s] involving

speech related to scholarship or teaching.” 547 U.S. at 425. 7

      Consistent with Bishop, the Fourth, Fifth, Sixth, and Ninth Circuits all

recognize that higher education classroom instruction is protected by the First

Amendment, and therefore is not unprotected “government speech.” See Meriwether

v. Hartop, 992 F.3d 492, 505 (6th Cir. 2021) (holding that “professors at public


7
  The State cites dicta in a case about student activities fees, State Br. 26, which
stated that “principles applicable to government speech” would be “considered”
when evaluating instructors’ in-class speech. Bd. of Regents of Univ. of Wisconsin
Sys. v. Southworth, 529 U.S. 217, 235 (2000). But the Court in Southworth did not
hold that instructors’ in-class speech was government speech, and its opinion in no
way disturbed Bishop as binding Eleventh Circuit precedent. The only case the State
cites to support its argument that instructors in the classroom are engaged in
government speech that actually involved classroom instruction is Edwards v. Calif.
Univ. of Pa., 156 F.3d 488, 491 (3d Cir. 1998); State Br. 6, 29, 38. This decision is
not binding on this Court, and the Third Circuit itself recognized its divergence from
established Eleventh Circuit precedent. Id. (citing Bishop, 926 F.2d at 1075).
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universities retain First Amendment protections at least when engaged in core

academic functions, such as teaching and scholarship”); Buchanan v. Alexander, 919

F.3d 847, 852 (5th Cir. 2019) (holding that “classroom discussion” is protected by

the First Amendment); Demers v. Austin, 746 F.3d 402, 412 (9th Cir. 2014)

(“Garcetti does not—indeed, consistent with the First Amendment, cannot—apply

to teaching and academic writing that are performed ‘pursuant to the official duties’

of a teacher and professor.”); Adams v. Trs. of the Univ. of N.C. Wilmington, 640 F.3d

550, 562 (4th Cir. 2011) (concluding that “Garcetti would not apply in the academic

context of a public university”).

      The Supreme Court has directed, moreover, that courts should “exercise great

caution before extending [] government-speech precedents,” because they allow the

government to “silence or muffle the expression of disfavored viewpoints.” Matal v.

Tam, 582 U.S. 218, 235 (2017); see also Shurtleff v. City of Boston, 142 S. Ct. 1583,

1595 (2022) (Alito, J., concurring) (“[I]t can be difficult to tell whether the

government is using the [government-speech] doctrine ‘as a subterfuge for favoring

certain private speakers over others based on viewpoint’” (quoting Pleasant Grove

City v. Summum, 555 U.S. 460, 473 (2009)). As the district court noted here, “the

logical conclusion” of the State’s position is that “the State of Florida can issue

transcripts to every university professor” to read from in class, and “can regulate




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everything that’s said in the […] classroom down to the last word of the professor[.]”

SA 404.

       The State cites Shurtleff, but its analysis only confirms that university

instructors’ classroom speech is not government speech. State Br. 28, 36. There, in

assessing whether a flag flown above city hall as part of a public forum was

government speech, the Court looked to “the history of the expression at issue; the

public’s likely perception as to who (the government or a private person) is speaking;

and the extent to which the government has actively shaped or controlled the

expression.” Shurtleff, 142 S. Ct. at 1589–90.

      Those very considerations make clear that an instructor’s in-class speech is

not government speech. First, as a historical matter, such speech has never been

considered “government speech.” On the contrary, the Supreme Court has long

recognized the free expression rights of instructors, holding that the First

Amendment “does not tolerate laws that cast a pall of orthodoxy over the

classroom.” Keyishian, 385 U.S. at 603. “Colleges and universities serve as the

founts of—and the testing grounds for—new ideas,” Speech First, Inc., 32 F.4th at

1128, not a place to receive the government’s official messages.

      Second, no one perceives a professor’s in-class instruction to be expressing

the official views of the government; on the contrary, we expect that university

classrooms will provide “that robust exchange of ideas which discovers truth out of


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a multitude of tongues, (rather) than through any kind of authoritative selection.”

Pred v. Bd. of Pub. Instruction of Dade Cty., 415 F.2d 851, 855 (5th Cir. 1969)

(quoting Keyishian, 385 U.S. at 603 (internal quotations omitted)).8 We expect

higher education instructors to “be exemplars of open-mindedness and free inquiry,”

Wieman, 344 U.S. at 196 (Frankfurter, J., concurring), not mouthpieces for the

legislature.

      Third, the government—here, the state legislature—does not “actively shape

or control” every utterance by every university instructor. See Shurtleff, 142 S.Ct. at

1589–90. Course offerings and syllabi are generally approved by the university, but

not the legislature. And even the university’s approval of general subject matter does

not come close to making the Instructors’ lectures and class discussions those of the

government. The Instructors create their own syllabi for their courses, write their

own lectures and discussion questions, select readings, create assignments, evaluate

students’ work, and are generally responsible for managing every aspect of their

courses without government approval, oversight, or interference—until now. See,

e.g., App. 187–88. What professors say in class is not, in short, government speech.

And as such, Bishop governs its regulation, and does not countenance a state




8
 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit handed down prior to October 1, 1981.
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legislature’s effort to micromanage classroom discussions by proscribing promotion

or advancement of politically disapproved ideas.

III.   The Stop W.O.K.E. Act Violates the First and Fourteenth Amendments
       Because It Is Unconstitutionally Vague

       The district court correctly held that the Stop W.O.K.E. Act is

unconstitutionally vague. App. 416. A law violates the Due Process Clause’s

prohibition of vagueness “if it fails to provide people of ordinary intelligence a

reasonable opportunity to understand what conduct it prohibits” or “if it authorizes

or even encourages arbitrary and discriminatory enforcement.” Hill v. Colo., 530

U.S. 703, 732 (2000). By proscribing any speech that “espouses” or “compels” belief

in a series of abstract ideas, while simultaneously permitting their discussion during

instruction in an “objective manner without endorsement,” the Act leaves instructors

at a loss as to what is actually proscribed, and how they can even teach about the

concepts without crossing the line. Fla. Stat. § 1000.05(4)(a), § 4(b). And because

the lines the law draws are so vague, they invite arbitrary enforcement.

          A. The Act’s Chilling Effect on Free Speech Heightens Vagueness
             Concerns

       The fact that the Act seeks to regulate speech “amplifies [vagueness] concerns

because an unconstitutionally vague law can chill expressive conduct by causing

citizens to ‘steer far wider of the unlawful zone’ to avoid the law’s unclear

boundaries.” Keister v. Bell, 29 F.4th 1239, 1258–59 (11th Cir. 2022) (quoting


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Grayned v. City of Rockford, 408 U.S. 104, 109 (1972)); see also Smith v. Goguen,

415 U.S. 566, 573 (1974) (explaining that “[w]here a statute’s literal scope . . . is

capable of reaching expression sheltered by the First Amendment, the doctrine

demands a greater degree of specificity than in other contexts”). For this reason,

“standards of permissible statutory vagueness” affecting speech “are strict,”

requiring the government to regulate with “narrow specificity.” Keyishian, 385 U.S.

at 603–04 (quoting NAACP v. Button, 371 U.S. 415, 432–33 (1963)). These concerns

are magnified still further given the university’s status as the “marketplace of ideas.”

Id. at 603.

      Perhaps in recognition that the Act cannot survive traditional vagueness

scrutiny, the State argues that the standard should be “more lenient” in regulation of

the higher education classroom. State Br. 46. But none of the cases it cites supports

this proposition. Some do not address a vagueness claim or higher education

instruction at all. See O’Laughlin v. Palm Beach Cty., 30 F.4th 1045, 1055 (11th Cir.

2022) (holding plaintiffs had “abandoned any vagueness argument they might have

intended to present”); Waters v. Churchill, 511 U.S. 661, 673 (1994) (considering the

applicability of the First Amendment to the discipline of a public employee and

mentioning vagueness only in dicta); Arnett v. Kennedy, 416 U.S. 134, 162 (1974)

(upholding a law concerning dismissal procedures for federal employees by reading

it narrowly to “exclud[e] constitutionally protected speech”). Other cases address


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the difference between civil and criminal laws, but again do not involve classroom

speech of university instructors. See Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S.

675, 686 (1986) (considering high school student speech). In any event, the district

court properly concluded that the Act’s terms were vague “even under this ‘ordinary

person using common sense’ test for public employees” advanced by the State. App.

405.

       One case the State cites, San Filippo v. Bongiovanni, 961 F.2d 1125, 1126 (3d

Cir. 1992), did involve a vagueness challenge to a university regulation governing

dismissal standards for university faculty. But the case is so different that it only

confirms the vagueness of the Act by contrast. There, the court deemed not vague a

fairly routine regulation that provided for dismissal for “failure to maintain standards

of sound scholarship and competent teaching,” as applied to a professor who took

advantage of visiting Chinese scholars by, among other things, making them do

domestic work at his home and otherwise abusing them. Id. at 1137. The court

deemed the school’s standard, essentially an unprofessional conduct standard,

sufficient to provide fair notice to professors that the conduct at issue was not

permissible. Id. But that is a far cry from the Act, which seeks to micromanage what

views instructors can “espouse” on a series of abstractly defined concepts

indisputably relevant to the very courses they teach, and requires instructors to

distinguish, at their peril, between discussion “in an objective manner without


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endorsement” and “espousal” or “advancement” of those ideas. Fla. Stat.

§ 1000.05(4)(a).

      The State further asserts, without elaboration, that “[b]ecause Plaintiffs

challenge the Act on a pre-enforcement basis, their burden to show the risk of

discriminatory enforcement is much higher.” State Br. 47. The State cites no

precedent for this position nor offers any rationale. A statute is either void for

vagueness or it is not. It doesn’t become vague once it is enforced.

      In short, the State’s arguments for a relaxed vagueness standard are

unavailing. But in any event, as the district court found, the Act is vague under any

version of the vagueness standard.

          B. The Entirety of the Stop W.O.K.E. Act Is Vague

      The Act is vague in at least four respects. First, it does not clearly define what

concepts are proscribed or even make clear to whom its restrictions apply. Second,

it seeks to prohibit abstract ideas. Third, it forces instructors to distinguish, in the

context of classroom instruction, the permissible discussion of the prohibited ideas

from impermissibly endorsing them, a highly subjective line that they cross at their

peril. And fourth, a violation can turn on the impressions of third parties

                   i. The Act Fails to Clearly Define the Particular Conduct It
                      Prohibits

      The Act does not clearly define the conduct it prohibits. It does not merely

prohibit an instructor from personally espousing a concept, but broadly proscribes
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any “training or instruction” that “espouses, promotes, advances, inculcates, or

compels” a student to believe a prohibited concept. Fla. Stat. § 1000.05(4)(a). 9 In

Keyishian, the Supreme Court held that similar terms—prohibiting employment of

a higher education instructor who “advocates, advises or teaches the [prohibited]

doctrine”—were impermissibly vague because they “may well [reach] one who

merely advocates the doctrine in the abstract without any attempt to indoctrinate

others.” 385 U.S. at 599–600. As the Keyishian Court recognized, and as everyone

who has been taught using the Socratic method well knows, there are many reasons

why an instructor might “promote,” “advance,” or “endorse” a particular viewpoint

during class, simply as a means of prompting students to take it seriously, to contest

it, to debate it, and to think critically about it. Yet it is entirely unclear whether the

Act permits such traditional forms of teaching.

      As one court reasoned in striking down as unconstitutionally vague a similar

New Hampshire law prohibiting teachers from teaching, advocating, or instructing

similarly politically disfavored concepts:

      Consider, for example, the third banned concept, which bars an
      educator from teaching or advocating “[t]hat an individual should be
      discriminated against or receive adverse treatment solely or partly
      because of his or her . . . race.” RSA § 193:40, I(c). In the coming
      months, the Supreme Court will decide whether colleges and
      universities can continue to use race-conscious admission policies. The

9
 The BOG Regulation only makes matters worse, defining instruction not as a
particular action by an instructor, but as a “process of teaching or engaging students
with content.” BOG 10.005(1)(c).
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      plaintiffs in those cases assert that such policies improperly favor Black
      applicants at the expense of white and Asian-American applicants,
      whereas the defendants argue that the policies are necessary to ensure
      diversity in higher education. If a high school teacher attempts to
      explain the diversity argument to her class during a discussion of the
      case, will she face sanctions for teaching a banned concept? We simply
      don't know.

Local 8027, AFT-N.H., AFL-CIO v. Edelblut, No. 21-CV-1077-PB, 2023 WL

171392, at *13 (D.N.H. Jan. 12, 2023); see also Santa Cruz Lesbian & Gay Cmty.

Ctr. v. Trump, 508 F. Supp. 3d 521, 544 (N.D. Cal. 2020) (“The line between

teaching or implying (prohibited) and informing (not prohibited) ‘is so murky,

enforcement of the ordinance poses a danger of arbitrary and discriminatory

application.’”) (quoting Hunt v. City of Los Angeles, 638 F.3d 703, 712 (9th Cir.

2011)).

       The State itself struggles to articulate what the Act means. Below, it argued

that inviting a “guest speaker who promoted one of the eight concepts as part of a

classroom debate where all sides of the issue were represented would still run afoul

of the law.” App. 410; see also SA 443–44. Now, it argues that “merely hosting a

guest speaker obviously would not itself be an endorsement” prohibited by the law.

State Br. 41. But later, it states that the Act allows the invitation of guest speakers “if

the professor does not personally endorse the concept.” Id. at n.6. So if an instructor

agrees in any respect with the invited speaker, he violates the law? What if an

instructor posed a question to another speaker in a way that endorsed the view?


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Would that be permissible? What if he nodded while the prohibited concept was

being defended? The Act does not clarify, and requires instructors to guess at their

peril.

                 ii. The Abstract Concepts Prohibited by the Act Are Vague

         The breadth and ambiguity of the concepts targeted by the Act further

exacerbate the law’s vagueness. The often overlapping concepts are themselves

highly abstract; they prohibit not simply a set of specific words, but broad ideas.

They provide no guidance as to what sorts of comments or arguments might be

construed as falling within their broad and general terms. What does it mean to

suggest that someone is “morally superior” (concept one)? What “other forms of

psychological distress” are covered by concept seven? Prohibited concept four

“features a rarely seen triple negative,” making it “unclear what is prohibited and

even less clear what is permitted.” App. 405–06 (citing Ne. Pa. Freethought Soc’y

v. Cty. of Lackawanna Transit Sys., 938 F.3d 424, 437 n.2 (3d Cir. 2019)); Albanese

v. McGinnis, 823 F. Supp. 521, 563 (N.D. Ill. 1993) (“Triple negatives are not

conducive to comprehension.”). The contours of every one of the eight concepts

could be the subject of almost limitless academic symposia and philosophical

debates. But if an instructor guesses wrong, he has violated the Act.




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                  iii. The Savings Clause Exacerbates the Act’s Vagueness

      The Act’s “savings clause,” which is essential to what the law proscribes, only

compounds the law’s vagueness. Section (b) provides that the prior provision “may

not be construed to prohibit discussion of the concepts . . . as part of a larger course

of [] instruction, provided such [] instruction is given in an objective manner without

endorsement of the concepts.” Fla. Stat. § 1000.05(4)(b). Thus, in order to know

what they can and cannot say in class, instructors must constantly ask whether their

comments are “objective without endorsement” or could be deemed to “endorse” a

proscribed idea. That is a virtually impossible task.

      As the district court observed, the use of “objective” in the Act departs from

the dictionary meaning of the term. The dictionary definition of “objective” could

contemplate the airing of viewpoints both endorsing and rejecting an idea. App. 407

(referencing the dictionary definition of “objective” to mean “expressing or dealing

with facts or conditions as perceived without distortion by personal feelings,

prejudice    or     interpretation”)   (citing     Objective,    Merriam-Webster.com,

https://bit.ly/3zcLbB1). Section (b) permits only instruction “in an objective manner

without endorsement.” Fla. Stat. § 1000.05(4)(b). But the law contemplates a sharp,

indeed dispositive, distinction between discussion and endorsement. How, then, does

an instructor teach both sides of contemporary debates about, say, affirmative action,




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structural inequality, or reparations, if presenting one side might well be seen as

“espousing” it?

      The State’s effort to reconcile the two provisions only underscores the

problem. The State argues that Section (b) “permits instructors to discuss the

concepts without expressing approval of them,” State Br. 51, and that Section (a)

permits condemnation of the concepts. State Br. 52–53. As the district court stated,

“[n]o ordinary person would understand ‘objective’ instruction to allow for this

imbalance.” App. 411. Confusingly, the State argues that Section (a) “has nothing to

do with” Section (b). State Br. 52–53. But as the State acknowledges, Section (b) is

an exception to Section (a); it speaks in direct reference to the prior section and has

no stand-alone meaning. And even if the sections had nothing to do with one another,

it would remain entirely unclear whether an instructor should try to teach a concept

“objectively,” whatever that means under this law, or should affirmatively condemn

the concepts.

      The State claims that ordinary people know the difference between objectivity

and endorsement, because it’s the difference between what judges do and what

lawyers do. State Br. 51. But is that clear? When a judge writes an opinion affirming

the validity of affirmative action, for example, is she not “espousing” or “endorsing”

that view? Nowhere else in the law does liability turn on whether a discussion is

objective or subjective—and for good reason. Even if objectivity is a laudable ideal


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in the abstract, determining whether any particular statement on a matter of

controversy is objective or not is, like beauty, in the eye of the beholder. Legal

sanctions cannot turn on such evanescent distinctions.

               iv. Violation of the Act Requires No Scienter, and Turns On
                   Listener Reactions

      The Act contains no scienter requirement, further exacerbating its vagueness,

because teachers can be caught in its snares without any intent to transgress the law.

Edelblut, 2023 WL 171392, at *12. And its prohibition on “instruction that . . .

compels [a student] to believe” a prohibited concept raises still further vagueness

concerns, because it turns on how a listener reacts. Like a law prohibiting actions

that have the “effect of influencing,” League of Women Voters of Fla. Inc. v. Fla.

Sec’y of State, 66 F.4th 905, 947 (11th Cir. 2023), this provision gives instructors no

way of knowing whether their teaching will have the prohibited effect of

“compelling” belief in a concept. Id.

      For example, Instructor Pernell assigns readings from his casebook on racism

and criminal procedure. SA 4. Instructor Sandoval includes “Doing intersectionality:

Power, privilege, and identities in political activist communities” on the reading list

for Intercultural Communication. SA 126. No one can know how an individual

student will react to such readings, let alone whether they might “compel” them to

believe in a concept. If an instructor offers a “compelling” argument, does she cross



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the line? Only the reaction of the student will determine whether the speech is

permitted or proscribed.

        As this Court recognized in Wollschlaeger, laws triggered by the effect of

expression on a recipient fail to provide any standard of conduct and turn instead on

each individual’s perspective. 848 F.3d 1293. What is perceived by one person as

harassing, id. at 1307, annoying, Coates v. City of Cincinnati, 402 U.S. 611, 615

(1971), or compelling, Fla. Stat. § 1000.05(4)(a), may not be so perceived by

another. As such, the Act is not just imprecise, but provides “no standard of conduct

. . . at all.” League of Women Voters, 66 F.4th at 947 (quoting Coates, 402 U.S. at

614).

        And because the law lacks a scienter requirement, it offers no “protect[ion]

from being caught in [the statute’s] net by the necessity of having a specific intent

to commit an unlawful act.” Papachristou v. City of Jacksonville, 405 U.S. 156, 163

(1972). The prohibition on “instruction” that has the effect of compelling a student

to believe a concept cannot be squared with the State’s assertion that the Act

“impl[ies] a scienter requirement[.]” State Br. 48. See Grayned, 408 U.S. at 110 (“[I]t

is not within our power to construe and narrow state laws.”); Fla. Right to Life, Inc.

v. Lamar, 273 F.3d 1318, 1329 (11th Cir. 2001) (noting “commitment, as a federal

court, to be vigilant against rewriting the terms of state statutes”). Moreover, similar

laws have been declared vague even when they have included an explicit scienter


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element. See Keyishian, 385 U.S. at 599–600 (finding unconstitutional a law that

required instructors to act “willfully and deliberately”).

          C. The Act Encourages Arbitrary and Discriminatory Enforcement

      The risk of arbitrary and discriminatory enforcement under the Act is

particularly pronounced because the law expressly seeks to suppress what the State

deems “woke” ideas. See, e.g., Barrett v. Walker Cty. Sch. Dist., 872 F.3d 1209, 1229

(11th Cir. 2017) (holding that vague regulations create the “risk that speech will be

chilled or effectively censored on the basis of content or viewpoint.”). The

Instructors who teach race, ethnic, or gender studies courses—disciplines that often

require instruction about the Act’s prohibited concepts—are acutely chilled in their

academic expression and vulnerable to arbitrary and discriminatory enforcement.

App. 142.

      The departments of African American Studies at Florida State University,

Florida International University, and the University of Florida, where instruction

involving prohibited concepts would predictably occur, are predominantly staffed by

Black instructors. App. 143. Instructors of color are often evaluated more harshly

than white instructors when teaching the same material, increasing the likelihood

students may perceive and report violations of the Act.10 SA 60. As Instructor Austin


 Kerry Chavez & Kristina M.W. Mitchell, Exploring Bias in Student Evaluations:
10

Gender, Race, and Ethnicity (Cambridge Univ. Press 2019),

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explained, professors of color are more likely to be hired to teach the very courses

about race that are most at risk under the Act’s prohibitions. SA 78–79.

      The Act requires universities to comply with the law and puts them at risk of

losing substantial funding if they permit an instructor to “espouse” a prohibited

concept. BOG 10.005. That will incentivize stringent enforcement, but without clear

guidance about how one can and cannot discuss the prohibited concepts (or even

what they encompass), universities in the first instance and the Board of Governors

will have broad discretion to target individuals in an arbitrary and discriminatory

manner. “Vague standards, unless narrowed by interpretation, encourage erratic

administration whether the censor be administrative or judicial; individual

impressions become the yardstick of action, and result in regulation in accordance

with the beliefs of the individual censor rather than regulation by law.” Interstate

Circuit, Inc. v. City of Dallas, 390 U.S. 676, 685 (1968) (internal marks omitted).

         D. Implementing Regulations Do Not Cure the Act’s Vagueness

      The State’s assertion that the BOG Regulation minimizes risk of arbitrary

enforcement is unpersuasive. State Br. 48. Regulations cannot alter the text of the

law itself. Moreover, the Regulation does not attempt to clarify the substance of the

law in any manner, but merely specifies the consequences of a violation. See supra,


https://www.cambridge.org/core/journals/ps-political-science-and-
politics/article/exploring-bias-in-student-evaluations-gender-race-and-
ethnicity/91670F6003965C5646680D314CF02FA4#.
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p. 7. The State posits that the enforcement mechanism “reserv[es] . . . punishment to

only examples where an employee refuses to correct prohibited teaching[.]” SA 359.

But as the district court correctly pointed out, BOG Regulation 10.005(3)(c) includes

“plain language stat[ing], removal—including termination—may also occur if there

is merely a failure to comply with the university’s mandate . . . . [and an instructor

can be fired if they inadvertently cross the line] in a good-faith attempt to teach

objectively[.]” App. 415 (internal alterations and citations omitted). Further

regulations providing for disciplinary action “if there is a failure or refusal to

comply[,]” State Br. 48, provide no clarity about the law’s many unanswered

questions, and therefore do nothing to prevent chill or reduce the potential for

arbitrary or discriminatory enforcement (internal citations omitted).

      The potential for post hoc warnings is no cure. The Supreme Court has

repeatedly held that retroactive warnings are no remedy for vagueness as they fail to

provide notice and are necessarily dependent on individual discretion, allowing for

arbitrary and discriminatory enforcement. See, e.g., Chicago v. Morales, 527 U.S.

41, 58–59 (1999) (“Because an officer may issue an order only after prohibited

conduct as already occurred . . . [s]uch an order cannot retroactively give adequate

warning of the boundary between the permissible and the impermissible applications

of the law.”); Wright v. Georgia, 373 U.S. 284, 292 (1963); Shuttlesworth v.

Birmingham, 382 U.S. 87, 90–91 (1965). And while the Court has noted the ability


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in that setting to seek advice on the validity of a proposed course of conduct, see

State Br. 48, it did so only after the Court’s lengthy analysis finding the law

otherwise constitutionally sound and not as a mechanism to save an

unconstitutionally vague law. U.S. Civil Serv. Comm’n v. Nat’l Ass’n of Letter

Carriers, 413 U.S. 548, 577–80 (1973). And where, as here, a violation can turn on

whether one’s discussion of a prohibited topic is perceived as “objective” or

“endorsing,” inherently slippery concepts, it’s not at all clear that a “warning” would

even clarify what the instructor can and cannot say the next time the issue comes up

in class.

IV.    The District Court Correctly Concluded That the Doctrine of
       Severability Does Not Apply

       The Act cannot be salvaged by severing its unconstitutional provisions.

Severability is improper because: (1) removal of either section would fail to cure the

Act’s constitutional deficiencies; and (2) the overall legislative purpose cannot be

accomplished without each section.

       Severability of state legislative provisions is “a matter of state law.” Leavitt v.

Jane L., 518 U.S. 137, 139 (1996). Florida law allows for severability when:

       (1) the unconstitutional provisions can be separated from the remaining
       valid provisions, (2) the legislative purpose expressed in the valid
       provisions can be accomplished independently of those which are void,
       (3) the good and the bad features are not so inseparable in substance
       that it can be said that the Legislature would have passed the one
       without the other and, (4) an act complete in itself remains after the
       invalid provisions are stricken.
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Smith v. Dep’t of Ins., 507 So. 2d 1080, 1089 (Fla. 1987) (citation omitted).

      In determining whether severability is proper, the “key determination is

whether the overall legislative intent is still accomplished without the invalid

provisions.” Wollschlaeger, 848 F.3d at 1318 (citation omitted); Emerson v.

Hillsborough Cty., 312 So. 3d 451, 460 (Fla. 2021). Where the “taint” of an illegal

provision has “infected the entire enactment,” severability is not appropriate. Searcy,

Denney, Scarola, Barnhart & Shipley v. State, 209 So. 3d 1181, 1196 (Fla. 2017).

Where, as here, severing the unconstitutional provisions would alter the scope of the

statute and thus contravene the legislative intent, severability is improper.

      First, Sections (a) and (b) work hand-in-hand to define, albeit inadequately,

what instructors can and cannot say. Accordingly, severing one from the other would

not save the statute; it would radically alter its meaning.

      Second, if either section were to be found valid on its own, the legislative

purpose could not be accomplished. Smith, 507 So. 2d at 1089. As Section (b) is an

exception to (a), it makes no sense standing alone. And severing Section (b), the

savings clause, would expand the prohibition beyond the legislature’s intent. The

Florida Supreme Court rejected similar arguments seeking to sever an

unconstitutional savings clause, explaining that it “w[ould] not legislate and sever

provisions that would effectively expand the scope of the statute’s intended breadth.”

State v. Catalano, 104 So. 3d 1069, 1081 (Fla. 2012).
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      In light of the inextricably intertwined nature of the two sections, the third and

fourth considerations also weigh against severability.

      Finally, it makes no sense to sever individual prohibited “concepts.” They all

share the same constitutional infirmities; they seek to suppress disfavored

viewpoints, and they are impermissibly vague. Moreover, the legislature deemed

prohibition of all eight concepts necessary to achieve its purpose, so judicially

picking and choosing among the provisions would undermine the legislature’s

purpose. SA 346, 406; Homestead Hosp., Inc. v. Miami-Dade Cty., 829 So. 2d 259,

263 (Fla. 3d DCA 2002).

V.    The Remaining Equitable Factors Favor Affirming the Preliminary
      Injunction

          A. Absent an Injunction, Plaintiffs Will Suffer Irreparable Injury

      The loss of First Amendment freedoms “for even minimal periods of time,

unquestionably constitutes irreparable injury.” Roman Cath. Diocese of Brooklyn v.

Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam) (quoting Elrod v. Burns, 427 U.S. 347,

373 (1976) (plurality opinion)); KH Outdoor, LLC v. City of Trussville, 458 F.3d

1261, 1272 (11th Cir. 2006). Where, as here, “pure speech” is chilled, irreparable

injury is presumed. Siegel, 234 F.3d at 1178. As such, the district court did not abuse

its discretion in concluding that the Instructors’ chilled speech constitutes irreparable

injury. App. 418 (citing Speech First, Inc., 32 F.4th at1128).



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      Absent the injunction, the Instructors will be forced to self-censor their

instruction or risk disciplinary action. See supra, pp. 7–9. Under either scenario, the

Instructors’ constitutional freedom is compromised. SA 10–11, 58, 74–75, 99, 247.

Because the loss of the Instructors’ First Amendment freedoms constitutes

irreparable injury as a matter of law, and the State has not argued otherwise, this

factor weighs in the Instructors’ favor.

          B. The State Is Not Harmed by the Injunction of an Unconstitutional
             Law and the Injunction Is in the Public Interest

      The district court properly determined that “the scale tips decisively in [the

Instructors’] favor” when weighing the Instructors’ First Amendment injuries against

the State’s interests. App. 418 (citing KH Outdoor, 458 F.3d at 1271–72 (“the state

‘has no legitimate interest in enforcing an unconstitutional ordinance.’”)). The

State’s expressed interest in ending discrimination is not legitimately served by the

Act, see supra, pp. 26–29, and as the district court observed, the portions of the

Florida Educational Equity Act not amended by the Act all remain in place to prevent

discrimination within education in the state. App. 419.

      Further, contrary to the State’s assertion, State Br. 55, there is “no harm from

the state’s nonenforcement of invalid legislation.” United States v. Alabama, 691

F.3d 1269, 1301 (11th Cir. 2012); see Odebrecht Constr., Inc. v. Sec’y, Fla. Dep’t of

Transp., 715 F.3d 1268, 1289–90 (11th Cir. 2013) (harm to state from non-

enforcement of likely unconstitutional law is “nebulous” and “ephemeral”).
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      Likewise, “[t]he public interest is served when constitutional rights are

protected[,]” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir.

2019), and, as the district court noted, “[t]he First Amendment, in particular, serves

significant societal interests.” App. 418–19 (citing First Nat’l Bank of Boston v.

Bellotti, 435 U.S. 765, 776 (1978)). “Nowhere is free speech more important than in

our leading institutions of higher learning.” Speech First, Inc., 32 F.4th at 1128.

      Not since the McCarthy era has this country seen the sort of political

censorship and legislative interference with the ideas instructors espouse. If the

university is to remain the quintessential “marketplace of ideas,” Keyishian, 385

U.S. at 603, such political efforts to suppress disfavored ideas cannot be

countenanced. The district court did not err in granting the preliminary injunction.

                                   CONCLUSION

      For the foregoing reasons, this Court should affirm the district court’s grant

of a preliminary injunction.

 Dated: June 16, 2023                         Respectfully submitted,

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                       CERTFICIATE OF COMPLIANCE

    Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby certify that

the foregoing brief complies with the typeface rule set forth in Federal Rule of

Appellate Procedure 32(a)(5)(A), and type-volume limitation contained in Federal

Rule of Appellate Procedure 32(a)(7)(B), because it is typed in a proportionally

spaced font, has a type size of 14 points, and contains 12,884 words.

Dated: June 16, 2023                       /s/ Leah Watson
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                                           Counsel for Plaintiffs-Appellees



                         CERTFICIATE OF SERVICE

    I hereby certify that on June 16, 2023, the foregoing was filed electronically

with the Clerk of Court through the appellate CM/ECF system. I further certify that

all parties required to be served have been served.

Dated: June 16, 2023                       /s/ Leah Watson
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                         ADDENDUM
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                                     ADDENDUM

10.005 Prohibition of Discrimination in University Training or Instruction,
Bd. of Governors, State Univ. Sys. of Fla. (Aug. 26, 2022)…........................ Add. 1
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10.005 Prohibition of Discrimination in University Training or Instruction

    (1) Definitions. For purposes of this regulation, the enumerated terms are defined as
follows:
        (a) “Concepts” are the following:
             1. Members of one race, color, national origin, or sex are morally superior to
                 members of another race, color, national origin, or sex.
             2. A person, by virtue of his or her race, color, national origin, or sex is
                 inherently racist, sexist, or oppressive, whether consciously or
                 unconsciously.
             3. A person's moral character or status as either privileged or oppressed is
                 necessarily determined by his or her race, color, national origin, or sex.
             4. Members of one race, color, national origin, or sex cannot and should not
                 attempt to treat others without respect to race, color, national origin, or
                 sex.
             5. A person, by virtue of his or her race, color, national origin, or sex bears
                 responsibility for, or should be discriminated against or receive adverse
                 treatment because of, actions committed in the past by other members of
                 the same race, color, national origin, or sex.
             6. A person, by virtue of his or her race, color, national origin, or sex should
                 be discriminated against or receive adverse treatment to achieve
                 diversity, equity, or inclusion.
             7. A person, by virtue of his or her race, color, sex, or national origin, bears
                 personal responsibility for and must feel guilt, anguish, or other forms of
                 psychological distress because of actions, in which the person played no
                 part, committed in the past by other members of the same race, color,
                 national origin, or sex.
             8. Such virtues as merit, excellence, hard work, fairness, neutrality,
                 objectivity, and racial colorblindness are racist or sexist, or were created
                 by members of a particular race, color, national origin, or sex to oppress
                 members of another race, color, national origin, or sex.
        (b) “Training” is defined as a planned and organized activity conducted by the
            university as a mandatory condition of employment, enrollment, or
            participation in a university program for the purpose of imparting
            knowledge, developing skills or competencies, or becoming proficient in a
            particular job or role.
        (c) “Instruction” is defined as the process of teaching or engaging students with
            content about a particular subject by a university employee or a person
            authorized to provide instruction by the university within a course.
        (d) “Substantiate” is defined as establishing the existence or truth of a particular
            fact through the use of competent evidence.
        (e) “University regulation” is defined as the regulation required by section (2)(a)
            below.



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     (f) “Administrator” means the following high level personnel who have been
         assigned the responsibilities of university-wide academic or administrative
         functions: university president, provost, senior/executive vice presidents,
         vice presidents, associate vice presidents, associate/vice provosts, deans,
         equal opportunity programs director, chief audit executive, and chief
         compliance officer.

  (2) University Regulation and Content Review
      (a) Each university shall have a university regulation that prohibits
          discrimination on the basis of race, color, national origin, or sex by subjecting
          any student or employee to training or instruction that espouses, promotes,
          advances, inculcates, or compels such student or employee to believe any of
          the concepts as defined in paragraph (1)(a). Such university regulation shall
          contain a method for submitting complaints of alleged violations of the
          university regulation and the title and contact information of the office(s)
          designated by the university to receive and maintain such complaints.
      (b) The university regulation shall include that the prohibition in section (2)(a)
          does not prohibit discussion of the concepts as part of a larger course of
          training or instruction, provided such training or instruction is given in an
          objective manner without endorsement of the concepts.
      (c) Each university shall post the university regulation on a public website where
          the university commonly publishes regulations.
      (d) Each university shall periodically review its regulations, policies and
          institutional training materials to ensure that the content does not violate the
          university regulation.

  (3) University Investigation and Corrective Action
      (a) Each administrator who receives a complaint of an alleged violation of the
          university regulation shall timely forward such complaint to the office(s)
          designated to receive such complaints.
      (b) After reviewing the complaint and obtaining any additional information to
          aid in the review, the designated office shall direct, supervise, or coordinate
          the investigation of credible complaints that identify a training or instruction
          that espouses, promotes, advances, inculcates, or compels a student or
          employee to believe any of the concepts.
      (c) In the event the investigation finds that an instruction or training is
          inconsistent with the university regulation, the university shall inform the
          Board of Governors through the Office of Inspector General and take prompt
          action to correct the violation by mandating that the employee(s) responsible
          for the instruction or training modify it to be consistent with the university
          regulation, issuing disciplinary measures where appropriate and remove, by




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         termination if appropriate, the employee(s) if there is a failure or refusal to
         comply with the mandate.
     (d) If the Board of Governors receives a complaint about which it has not been
         previously informed pursuant paragraph 3(c), it shall refer the complaint to
         the subject university’s Chief Audit Executive to be addressed pursuant
         paragraphs 3(a)-(c).

  (4) Proceedings to Determine a Substantiated Institutional Violation
      (a) Upon receipt of a credible allegation that a university willfully and
          knowingly failed to correct a violation of the university regulation, the Board
          of Governors’ Office of Inspector General shall conduct an investigation to
          determine if evidence exists to support the allegation and ineligibility for
          performance funding. In determining whether a university willfully and
          knowingly failed to correct a violation, the Office of Inspector General shall
          consider whether the university made a good faith determination that the
          complaint did not allege a violation of the university regulation or whether it
          took prompt corrective action after it substantiated a violation of the
          university regulation. If it is determined an external qualified investigative
          firm is necessary to assist with or conduct the investigation, the subject
          university will be responsible for any costs incurred.
      (b) The Inspector General shall submit the investigatory findings to the Chair of
          the university’s Board of Trustees, or the Chair’s designee, which shall have
          twenty (20) business days to submit a written response after receipt of such
          findings. The Office of Inspector General shall provide a rebuttal, if any, to
          the university within twenty (20) business days after receipt of the
          university’s response. The university’s response and the Office of Inspector
          General’s rebuttal to the response, if any, shall be included in a final
          investigative report provided to the Board of Governor’s Audit and
          Compliance Committee and the Chair of the university’s Board of Trustees.
      (c) The Board of Governor’s Audit and Compliance Committee shall make a
          recommendation to the Board as to whether it should substantiate an
          allegation that a university willfully and knowingly failed to correct a
          violation of the university regulation. The Board shall review the
          investigative report and recommendation and make a final decision
          regarding whether the alleged willful and knowing failure to correct a
          violation of the university regulation is substantiated. Such decision will be
          rendered in writing to the university within twenty (20) business days of the
          meeting at which the report is considered.
      (d) If the Board of Governors determines that a university willfully and
          knowingly engaged in conduct at the institutional level that constituted a
          substantiated violation of section 1000.05(4)(a), Florida Statutes, and failed to
          take appropriate corrective action, the university will be ineligible for




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          performance funding for the next fiscal year following the year in which the
          Board of Governors made the determination.

   (5) Additional Proceedings.
   A university or the complainant may seek judicial review by filing a petition for writ
   of certiorari review with the appropriate circuit court within thirty (30) days of the
   date of the Board’s final decision pursuant to Florida Rule of Appellate Procedure
   9.190(b)(3).

Authority: Section 7(d), art. IX, Fla. Const.; Section 1000.05, Florida Statutes; Section
1001.92, Florida Statutes; History: New 08-26-22.




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